Case 2:04-cr-20502-SH|\/| Document 31 Filed 04/21/05 Page 1 of 2 Page|D 41

 

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FoR THE WESTERN DISTRICT oF TENNESSEE 05 h
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UN:TED sTATEs oF AMERICA, W.D. birt`)r`r§` nii§\§P;-c¢:l§
vs. No. 04-20502-Ma/A

JEFFREY HARDIN ,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is the March 28, 2005 Petition to modify
the conditions of defendant's bond.

This matter is hereby referred to the magistrate judge for a
hearing on the proposed modifications and a determination.

lt is 50 omERED this q'°n\day cf April, 2005.

JAW‘HM~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

